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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )    Case No: 8:24cr4
                                              )
                      Plaintiff,              )
                                              )           ORDER TO WITHDRAW
              vs.                             )          EXHIBITS OR TO SHOW
                                              )           CAUSE WHY EXHIBITS
KEITH FOX,                                    )        SHOULD NOT BE DESTROYED
                      Defendant.              )
                                              )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for the defendant shall
either 1) withdraw the following exhibits previously submitted in this matter within 14
calendar days of the date of this order, or 2) show cause why the exhibits should not be
destroyed:


                    Exhibit 101 from Detention Hearing held 5/10/24


       If counsel fails to withdraw these exhibits as directed or to show cause why the
exhibits should not be destroyed, the clerk=s office is directed to destroy the listed exhibits
without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 24th day of February 2025.

                                                    BY THE COURT:




                                                    Brian C. Buescher
                                                    United States District Judge




                            Exhibits-Order_to_Withdraw_or_OSC_Destroy_Appeal_Time_Expired.docx
                                                                              Approved 12/22/14
